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                      Exhibit A
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NEW YORK



                  ERICK DIAZ CRUZ,

                                                       Plaintiff,

                                      - against -

                  UNITED STATES OF AMERICA; and HENRY V.
                  SANTANA, Officer of U.S. Immigration and Customs
                  Enforcement, et al.,

                                                       Defendants.


                             No. 20 Civ. 891 (EK) (SJB)


                   MEMORANDUM OF LAW IN SUPPORT OF
             DEFENDANT HENRY V. SANTANA’S MOTION TO DISMISS
                 PLAINTIFF’S SECOND AMENDED COMPLAINT




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 June 21, 2021
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        Defendant Henry V. Santana respectfully submits this memorandum of law in support of

 his motion to dismiss the Second Amended Complaint (the “Complaint”) of Plaintiff Erick Diaz

 Cruz (“Diaz Cruz” or “Plaintiff”) for failure to state a claim upon which relief can be granted.

                                 PRELIMINARY STATEMENT

        Plaintiff brings Bivens claims under the Fourth and Fifth Amendments to recover for

 injuries resulting from his intervention in a struggle between Mr. Santana, a federal immigration

 officer, and a target attempting to flee a lawful arrest. Plaintiff approached the scene and attempted

 to loosen Mr. Santana’s grip on the target by pummeling Santana on the arm and face, leading to

 Mr. Santana firing his gun at Plaintiff. Although Plaintiff omits from the Complaint his own attack

 on Mr. Santana, the false depiction of Plaintiff as an innocent bystander does not affect the grounds

 for dismissal. Based strictly on the factual allegations of the Complaint, despite Plaintiff’s claimed

 serious injuries Bivens does not afford a remedy as a matter of law for multiple reasons.

        First, the Supreme Court’s Bivens doctrine forbids the creation of a new Bivens remedy

 unless a strict two-step standard is met, and this case fails to meet the standard. Under the test’s

 first prong, the court asks whether the claim presents a new Bivens context. If the answer is yes,

 the court asks whether special factors counsel hesitation in creating a new cause of action where

 Congress has declined to do so.

        Plaintiff’s excessive force claim manifestly presents a new Bivens context for multiple

 substantial reasons: it presents an entirely different factual context, invokes different Fourth and

 Fifth Amendment interests, and seeks to hold liable a different category of federal officer operating

 under a different legal regime than any of the Supreme Court’s existing Bivens precedents. Moving

 necessarily to the second prong, special factors counsel hesitation given that Plaintiff has an

 alternative remedy in the Federal Tort Claims Act; the immigration context and Plaintiff’s status

 as a foreign national raise separation of powers and policy concerns in having the judiciary create


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  a new remedy; and it is unlikely that Plaintiff’s allegations give rise to a Fourth or Fifth

  Amendment claim in any event. That is because Plaintiff’s factual allegations make clear he was

  not seized within the meaning of the Fourth Amendment and there is no substantive due process

  violation in Mr. Santana firing his gun at Plaintiff during a struggle with a suspect at which Plaintiff

  intentionally presented himself. Accordingly, Plaintiff’s Bivens claims should be dismissed in

  their entirety for failure to state a claim.

          Finally, in light of the strength of Mr. Santana’s dismissal arguments and lack of prejudice

  to Plaintiff, good cause exists to grant a stay of discovery pending resolution of this motion.

                         FACTUAL AND PROCEDURAL BACKGROUND

                  The Allegations Of The Complaint

          Plaintiff is a Mexican national who lives in Mexico. Cmplt. ¶ 10. On February 6, 2020,

  he was visiting his mother in Brooklyn when he awoke to hear banging on the door and shouting

  and screaming from the street. Id. ¶¶ 2, 10, 21, 22. When he left the house, Plaintiff saw Mr.

  Santana, an Immigration and Customs Enforcement (“ICE”) officer, and another ICE agent

  “engaged in a struggle” in the street with Gaspar Avendaño-Hernandez, Plaintiff’s mother’s “long-

  time partner.” Id. ¶¶ 2, 12, 13. Plaintiff saw the agents “wrestling with Mr. Avendaño-Hernandez,

  repeatedly using a taser on him, and attempting to place him in handcuffs and move him towards

  their vehicle.” Id. ¶ 29.

          When Avendaño-Hernandez ran away from the ICE agents, Mr. Santana ran after him and

  tried to pull him back toward the street. Id. ¶ 30. Avendaño-Hernandez grabbed onto a pole next

  to a staircase leading to the house. Id. ¶¶ 31-32. Plaintiff walked toward Avendaño-Hernandez

  and Mr. Santana and stood on the steps, placing himself between Avendaño-Hernandez and the

  house and coming within four feet of Mr. Santana. Id. ¶¶ 33-34, 36. According to the Complaint,

  Plaintiff did nothing threatening, and Mr. Santana shot him without warning. Id. ¶¶ 40-41, 45, 48.


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  The Complaint knowingly omits any mention of Plaintiff’s continuous pummeling of Mr. Santana,

  with his fist, on Mr. Santana’s arm and face, in an effort to loosen Mr. Santana’s grip on Avendaño-

  Hernandez. Plaintiff suffered fractures to his face and left wrist and hand and other injuries from

  the shooting, and has undergone multiple surgeries and other treatments. Id. ¶¶ 56-61, 68-69, 73.

         Based on these allegations, Plaintiff asserts two Bivens claims against Mr. Santana, for

  excessive force in alleged violation of “the Fourth Amendment’s prohibition against seizures with

  excessive and unreasonable force” (Claim One, ¶¶ 77-80), and for violation of “the substantive

  due process component of the Fifth Amendment” (Claim Two, ¶¶ 81-84). Based on the same

  alleged facts, the Complaint asserts a claim against the United States (Claim Three, ¶¶ 85-86)

  under the Federal Tort Claims Act (FTCA), 28 U.S.C. §§ 1346, 2401(b), 2671-2680. Plaintiff

  seeks a declaratory judgment, compensatory and punitive damages, and attorneys’ fees.

                 Relevant Procedural History

         Plaintiff brought this action on February 19, 2020. (Dkt. no. 1). Before serving Mr.

  Santana, Plaintiff filed a First Amended Complaint on May 7, 2020 (dkt. no. 10), which Mr.

  Santana timely answered on September 21, 2020. (Dkt. no. 20). By order dated December 11,

  2020, Magistrate Judge Bulsara set a case management schedule establishing deadlines for, among

  other things, completion of discovery and amendment of the complaint. (Dkt. entry of Dec. 11,

  2020). On April 20, 2021, Plaintiff filed his Second Amended Complaint adding the FTCA claim

  against the United States based on the same allegations giving rise to the Bivens claims against

  Mr. Santana (Dkt. no. 29), and the government’s response to the Complaint is due on June 25,

  2021. (Dkt. no. 34). Following the submission of pre-motion letters in May 2021 (dkt. nos. 35 and

  36), the Court set a briefing schedule for this motion. (Dkt. Entry of May 20, 2021).




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                                            ARGUMENT

  I. THE COMPLAINT FAILS TO STATE A BIVENS CLAIM UNDER THE FOURTH
     OR FIFTH AMENDMENTS

                 Legal Standards – Motion To Dismiss For Failure To State A Claim

         To survive a motion to dismiss, a complaint must “state a clam to relief that is plausible on

  its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted). “A claim

  has facial plausibility when the plaintiff pleads factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.” Id. The court’s task

  is to “determine whether the ‘well-pleaded factual allegations,’ assumed to be true, ‘plausibly give

  rise to an entitlement to relief.’” Hayden v. Paterson, 594 F.3d 150, 161 (2d Cir. 2010) (quoting

  Iqbal, 556 U.S. at 679).

                 The Supreme Court Has Substantially Limited The Availability Of A Bivens
                 Remedy

         In Bivens v. Six Unknown Narcotics Agents, 403 U.S. 388 (1971), the Supreme Court

  created “a damages remedy to compensate persons injured by federal officers who violated the

  prohibition against unreasonable search and seizures.” Ziglar v. Abassi, 137 S. Ct. 1843 (2017).

  “Since then, the Supreme Court has recognized Bivens claims in only two other circumstances:

  (1) under the Fifth Amendment’s Due Process Clause for gender discrimination against a

  congressman for firing his female secretary, Davis v. Passman, 442 U.S. 228 (1979), and (2) under

  the Eighth Amendment’s prohibition on cruel and unusual punishment against prison officials for

  failure to treat an inmate's asthma which led to his death, Carlson v. Green, 446 U.S. 14 (1980).”

  Rivera v. Samilo, 370 F. Supp. 3d 362, 366 (E.D.N.Y. 2019) (parallel cites omitted). “These three

  cases—Bivens, Davis, and Carlson—represent the only instances in which the Court has approved

  of an implied damages remedy under the Constitution itself.” Ziglar, 137 S. Ct. at 1843.




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         The Supreme Court “has made clear that expanding the Bivens remedy is now a

  ‘disfavored’ judicial activity.” Id. at 1857; see also Hernandez v. Mesa, 140 S. Ct. 735, 742-43

  (2020) (We “have gone so far as to observe that if the Court’s three Bivens cases had been decided

  today, it is doubtful that we would have reached the same result” and “for almost 40 years, we

  have consistently rebuffed requests to add to the claims allowed under Bivens.”) (internal

  quotations and alterations omitted); Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 68 (2001)

  (Supreme Court has “consistently refused to extend Bivens liability to any new context or new

  category of defendants”); Arar v. Ashcroft, 585 F.3d 559, 571 (2d Cir. 2009) (“Since Carlson in

  1980, the Supreme Court has declined to extend the Bivens remedy in any new direction at all.”).

         Under Ziglar “a rigorous two-step inquiry” determines whether the court should “imply a

  Bivens cause of action in a new context or against a new category of defendants.” Rivera, 370 F.

  Supp. 3d at 367. First, the court determines whether the case is “different in a meaningful way”

  from the Supreme Court’s three prior Bivens cases. Ziglar, 137 S. Ct. at 1859. If it is, then the

  court may not create a new Bivens remedy “if there are special factors counselling hesitation in the

  absence of affirmative action by Congress.” Id. at 1857 (internal quotation marks omitted). As

  shown below, this case differs meaningfully from the Court’s three Bivens cases and special factors

  counsel against creating a new Bivens remedy. The Complaint should therefore be dismissed.

                 The Context Presented Here Is “Different In A Meaningful Way” From
                 Bivens, Davis, And Carlson

         At the first step of the inquiry, the court evaluates whether the case presents a new context.

  A context is new if it is “different in a meaningful way from previous Bivens cases decided by [the

  Supreme] Court.” Ziglar, 137 S. Ct. at 1859. Ziglar provided a nonexclusive list of examples of

  “differences that are meaningful”:

                 A case might differ in a meaningful way because of the rank of the
                 officers involved; the constitutional right at issue; the generality or


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                 specificity of the official action; the extent of judicial guidance as to
                 how an officer should respond to the problem or emergency to be
                 confronted; the statutory or other legal mandate under which the
                 officer was operating; the risk of disruptive intrusion by the
                 Judiciary into the functioning of other branches; or the presence of
                 potential special factors that previous Bivens cases did not consider.

  Id.

         “[E]ven a modest extension is still an extension,” and the new context inquiry may be

  “easily satisfied” by “small” differences. Id. at 1864, 1866; see also Rivera, 370 F. Supp. 3d at

  367 (Ziglar “made it clear that the only recognized implied rights of action are the narrow

  situations presented in Bivens, Davis, and Carlson.”); Oliveras v. United States Dep’t of Homeland

  Sec. Investigations Special Response Team Officer Robert Basile, 440 F. Supp. 3d 365, 370

  (S.D.N.Y. 2020) (“[E]ven if the Second Circuit has previously recognized a Bivens remedy that

  goes beyond the Supreme Court's trinity, this Court cannot simply rely on that precedent.”).

         As detailed below, the differences between this case and the three recognized Bivens

  actions are substantial: (1) the factual context here is patently different than any of the three

  recognized cases; (2) the constitutional right at issue is different; (3) this case involves a different

  type of federal officer, enforcing a different body of law; and (4) the federal officer here was

  operating under a different legal mandate.

                         The Factual Context Of This Case Is Patently Different From Bivens,
                         Davis, and Carlson

         To determine whether the context is new, the Court “must look beyond the constitutional

  provisions invoked.” Hernandez, 140 S. Ct. at 744. Instead, the inquiry focuses on the specific

  facts of the case. See Rivera, 370 F. Supp. 3d at 368-69 (“[S]imply because a plaintiff asserts the

  same constitutional right as one of the three recognized cases . . . does not mean the case does not

  present a new context.”).




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         In Ziglar, the Supreme Court described the factual context of Bivens, Davis, and Carlson

  as: “[1] a claim against FBI agents for handcuffing a man in his own home without a warrant

  [Bivens]; [2] a claim against a Congressman for firing his female secretary [Davis]; and [3] a claim

  against prison officials for failure to treat an inmate’s asthma [Carlson].” Ziglar, 137 S. Ct. at

  1860; see also Hernandez, 140 S. Ct. at 744 (Bivens concerned an “allegedly unconstitutional

  arrest and search”).

         This case, by contrast, involves a claim against an ICE agent for shooting a foreign national

  who claims to be a bystander to an immigration enforcement action. Unlike Bivens, Plaintiff is

  not the arrestee but a witness to an attempted arrest of someone else; is a foreign national who was

  in the U.S. on vacation; and the claim does not involve a search or an arrest. These facts bear little

  resemblance to the three recognized Bivens cases. See Hernandez, 140 S. Ct. at 744 (cross-border

  shooting of foreign national by a U.S. Border Patrol agent presented a new Bivens context); see

  also Oliveras, 440 F. Supp. 3d at 371-72 (finding new context and granting motion to dismiss

  where “[t]he only similarities between Plaintiff’s claim and that presented in Bivens are that

  Defendants are federal agents and that Plaintiff alleges a violation of the Fourth Amendment”).

                         The Constitutional Right At Issue Is Different

         While the Plaintiff in this case invokes the Fourth and Fifth Amendments, as did the

  plaintiffs in Bivens and Davis, respectively, the constitutional right at issue here is different than

  in either of those cases. Such differences are meaningful as the Supreme Court refuses “to extend

  Bivens to contexts beyond the specific clauses of the specific amendments for which a cause of

  action had been implied, or even to other classes of defendants facing liability under those same

  clauses.” Rivera, 370 F. Supp. 3d at 368-69 (collecting cases).

         In Bivens, the specific constitutional right at issue was plaintiff's privacy right under the

  Fourth Amendment. Bivens, 403 U.S. at 390 (“[T]he rights that [Bivens] asserts [are] primarily


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  rights of privacy . . .”). Here, unlike in Bivens, there is no privacy right issue—instead, the right

  at issue is the right to be free from excessive force under the Fourth or Fifth Amendment.

            Following Ziglar, the majority of courts within the Eastern and Southern Districts have

  determined that where, as here, a Fourth Amendment Bivens claim presents an excessive force

  rather than a privacy issue, it presents a new context. In Rivera, for example, the court granted

  defendant’s motion to dismiss, explaining that unlike in Bivens, “Plaintiff's claim is not for a

  violation of his privacy rights, or for a warrantless invasion of his home and the unreasonable

  search and seizure of his property. Instead, Plaintiff's claim arises from the force allegedly applied

  in making a lawful street arrest.” 370 F. Supp. 3d at 369. In Style v. Deputy United States Marshal

  Adam Mackey, No. 17-cv-1691 (ENV) (SJB), 2020 WL 3055319 (E.D.N.Y. May 15, 2020), the

  court concluded that the case presented “a new context from the narrow circumstances in Bivens”

  because, “[m]ost critically, although [Plaintiff’s] excessive force claim arises under the Fourth

  Amendment, it invokes a materially distinct constitutional interest from the privacy rights at issue

  in Bivens.” Id. at *4; see also Sosa v. Bustos, No. 17 Civ.417 (ER), 2020 WL 1940550, at *4

  (S.D.N.Y. Apr. 22, 2020) (same); Martinez v. D’Agata, No. 16 CV 44 (VB), 2019 WL 6895436,

  at *7 (S.D.N.Y. Dec. 18, 2019) (same).

            The two post-Ziglar decisions representing the minority approach in this Circuit—both

  from the Southern District—are unpersuasive.1 In Bueno Diaz, the court, despite Ziglar’s guidance

  to the contrary, interpreted Bivens in broad and expansive terms to allow an “arrestee to recover




  1
      These two cases—Bueno Diaz and Lehal—are in any event distinguishable for reasons explained
        below. In particular, unlike this case, neither Bueno Diaz nor Lehal involved the enforcement
        of immigration law, which involves policy and separation of powers concerns markedly
        distinct from Bivens. Indeed, Bueno Diaz was quite similar to Bivens in that, unlike this case,
        it concerned DEA agents enforcing drug laws. Bueno Diaz v. Mercurio, 442 F. Supp. 3d 701,
        708 (S.D.N.Y. 2020).


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  for ‘any injuries he has suffered as a result of the agents’ violation of the [Fourth] Amendment.’”

  Bueno Diaz v. Mercurio, 442 F. Supp. 3d 701, 708 (S.D.N.Y. 2020) (citing Bivens, 403 U.S. at

  397). Thus, according to the Bueno Diaz court, a plaintiff need only invoke the Fourth Amendment

  and allege an injury to maintain a claim under Bivens—a notion contrary to the Supreme Court’s

  consistent refusal to extend Bivens based solely on the constitutional amendment the plaintiff

  invokes. See Rivera, 370 F. Supp. 3d at 368-69 (collecting cases).

         In Lehal v. Central Falls Detention Facility Corporation, the court acknowledged that it

  “is certainly true that the mere invocation of the Fourth Amendment must now be considered

  insufficient to place a claim within the context of the Bivens decision,” but nevertheless found that

  a Fourth Amendment claim for excessive force did not present a new context. No. 13-cv-3923

  (DF), 2019 WL 1447261, at *11-12 (S.D.N.Y. Mar. 15, 2019). The court’s reasoning was flawed

  for two reasons. First, it mischaracterized Bivens as an excessive force case akin to one in which,

  as here, a plaintiff alleges physical injury. The plaintiff in Bivens, however, did not allege physical

  injury—instead he “claimed to have suffered great humiliation, embarrassment, and mental

  suffering as a result of the agents’ unlawful conduct.” Bivens, 403 U.S. at 389. Second, the court

  primarily relied on pre-Ziglar decisions within the Second Circuit and, to the extent it cited post-

  Ziglar cases in support of its conclusion, they were sparse and exclusively from outside the Circuit.

         With respect to Plaintiff’s Fifth Amendment claim for excessive force, the facts and

  constitutional right at issue here are entirely unlike Davis, which recognized a Bivens cause of

  action for under the Fifth Amendment’s due process clause for gender discrimination arising out

  of a Congressman’s firing of his female secretary. See Abdoulaye v. Cimaglia, 15-cv-4921 (PKC),

  2018 WL 1890488, at *6 (S.D.N.Y. Mar. 30, 2018) (“Even though Davis also involved Fifth

  Amendment rights, there are obvious meaningful differences between excessive force and gender




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  discrimination claims, the employment and pretrial proceeding contexts, and the legal mandates

  of a congressperson and a deputy marshal.”); Morgan v. Shivers, 1:14-cv-7921 (GHW), 2018 WL

  618451, at *5 (S.D.N.Y. Jan. 29, 2018) (holding that excessive force claim brought under Fifth

  Amendment presents a new context).

                          This Case Involves A Different Type Of Federal Officer Enforcing A
                          Different Body Of Law

            This case presents another meaningful difference: while Bivens involved DEA agents

  enforcing criminal law, this case involves an ICE agent enforcing immigration law. With the

  exception of one outlier, courts in the Eastern and Southern Districts post-Ziglar uniformly hold

  that where the case involves a different type of officer enforcing a different body of law, such a

  case presents a new Bivens context. See Style, 2020 WL 3055319, at *4 (“[T]he officers involved

  in Bivens were federal narcotics agents, an investigatory and enforcement force, whereas here, the

  officers are Deputy U.S. Marshals, a force principally engaged in the protection of federal judicial

  process and the execution of warrants authorized by a judicial officer”); Martinez, 2019 WL

  6895436, at *7 (dismissing Bivens claim for excessive force and noting that “the type of officers

  involved in Bivens were DEA agents, whereas here the officers were appointed members of a

  federal task force”); compare Bueno Diaz, 442 F. Supp. 3d at 708 (no new context where “both

  Bivens and this case concern the same type of federal officers: narcotics officers”); Lehal, 2019

  WL 1447261, at *12 (no new context where officers were Special Duty Marshals “effecting the

  arrest of criminal subject.”).2

            The outlier within the Eastern and Southern Districts is Prado v. Perez, 451 F. Supp. 3d

  306, 315 (S.D.N.Y. 2020), a case involving ICE agents, who, like the FBI agents in Bivens (but



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      Plaintiff’s Fifth Amendment claims are distinguishable on this ground as well as Davis involved
        the actions of a Congressman. See Davis, 442 U.S. 228.


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  unlike the defendant here) were alleged to have unlawfully conducted a search and seizure inside

  the plaintiff’s home. The court observed that the facts of the case “differed from the core Bivens

  context only in that the federal agent defendants were employed by ICE rather than by the FBI,”

  and decided that it did not present a new Bivens context. Id. at 316. In the court’s view, “the

  character of the law enforcement officer, without more,” cannot “automatically convert[] a

  plaintiff’s claim into a ‘new context,’ even post-Abbasi.” Id. at 315.

            Prado is inapposite because here, there is “more”—much more, as shown in this Point I.

  In any event, the Prado court’s reasoning is unpersuasive. First, despite that the Supreme Court

  has “consistently refused to extend Bivens to any new context or new category of defendants,”

  Ziglar, 137 S. Ct. at 1857 (internal quotation marks omitted, emphasis added), the Prado court

  extended the remedy to a new category of defendants, namely, ICE agents. Second, in justifying

  its extension of Bivens to other types of federal agents “even post-[Ziglar],” the Prado court relied

  exclusively on pre-Ziglar cases sustaining Bivens actions against other types of federal agents.

  Prado, 451 F. Supp. 3d at 315. Third, the court did not meaningfully address the policy and

  separation of powers issues that are unique to the immigration enforcement context, as discussed

  below, and which differentiate it from criminal law enforcement in a meaningful way. Id. 3

            The Fourth Circuit’s decision in Tun-Cos v. Perotte, 922 F.3d 514, 524-25 (4th Cir. 2019),

  declining to extend Bivens liability to ICE agents, is more persuasive because it recognizes “the

  substantively distinct aspects of immigration enforcement” compared to criminal law enforcement.

  Id. at 524. “[I]mmigration enforcement is by its nature addressed toward noncitizens which raises

  a host of considerations and concerns that are simply absent in the majority of traditional law




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      Plaintiff’s Fifth Amendment claims are distinguishable on this ground as well as Davis involved
        the actions of a Congressman. See generally Davis, 442 U.S. 228.


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  enforcement contexts.” Id. Even though Plaintiff was not the target of ICE’s immigration

  enforcement operations and is a foreign national rather than an immigrant, making ICE officers

  liable on excessive force claims arising out of enforcement operations would raise the same

  concerns identified by the Fourth Circuit.

                        The Defendant Operated Under A Different Legal Mandate

         While Bivens involved a warrantless arrest and search of a target within his home without

  probable cause, this case involves a claim of excessive force to a third-party who was a witness

  to—not the target of—a lawful arrest of the target outside of his home. Thus, the defendant here

  was operating under a “different legal mandate” than were the officers in Bivens.

         The majority of post-Ziglar decisions from the Eastern and Southern Districts hold that

  where, as here, a purported Bivens claim does not involve a warrantless arrest inside the target’s

  home, it presents a new context. See Rivera, 370 F. Supp. 3d at 369 (“Plaintiff’s arrest was made

  upon probable cause after a valid vehicle search conducted with probable cause” whereas “the

  officers in Bivens arrested the plaintiff in his home without a warrant and without probable

  cause.”); Style, 2020 WL 3055319, at *4 (“Further counterpointing this case against Bivens is

  defendants’ arrest of Style pursuant to a valid arrest warrant.”); see also Sosa, 2020 U.S. Dist.

  LEXIS 71362, at *12-13, 2020 WL 1940550, at *4 (same); Martinez, 2019 WL 6895436, at *7

  (same), but see Bueno Diaz, 442 F. Supp. 3d at 708 (holding that arresting officers lack of warrant

  an arrest outside of the home are not meaningful factors); Lehal, 2019 WL 1447261, at *11 (same).

         For the reasons set forth above, this case presents a new Bivens context.

                 The Court Should Not Extend Bivens To The Facts Of This Case Because
                 Special Factors Counsel Hesitation

         If a case presents a new Bivens context, the court moves to the second part of the inquiry,

  to consider whether “there are special factors counselling hesitation in the absence of affirmative



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  action by Congress.” Ziglar, 134 S. Ct. at 1847. The threshold for concluding that a factor

  counsels hesitation “is remarkably low. . . . Hesitation is a pause, not a full stop.” Turkmen v.

  Ashcroft, No. 02-CV-2307 (DLI) (SMG), 2018 WL 4026734, at *9 (E.D.N.Y. Aug. 13, 2018)

  (quoting Arar v. Ashcroft, 585 F.3d 559, 574 (2d Cir. 2009)). As shown below, the following

  factors here each independently counsel hesitation: (1) the availability of an alternative process to

  protect plaintiff’s interest—i.e., the FTCA; (2) separation of powers and policy concerns inherent

  in the context of immigration enforcement and claims by a foreign national; and (3) the likelihood

  that Plaintiff has not actually alleged a violation of the Fourth or Fifth Amendment.

                         The FTCA Provides An Alternative, Existing Process To Protect
                         Plaintiff’s Interest

         “[I]f Congress has created ‘any alternative, existing process for protecting the [injured

  party’s] interest’ that itself may ‘amoun[t] to a convincing reason for the Judicial Branch to refrain

  from providing a new and freestanding remedy in damages.’” Ziglar, 134 S. Ct. at 1858 (quoting

  Wilkie v. Robbins, 551 U.S. 537, 550 (2007)). Congress has created such a process here. The

  FTCA provides a remedy for claims arising out of torts such as “assault” and “battery” with “regard

  to acts or omissions of investigative or law enforcement officers of the United States Government.”

  28 U.S.C. § 2680(h). Indeed, Plaintiff has asserted an FTCA claim. Therefore, this Court should

  not create a “new and freestanding remedy in damages.” Ziglar, 134 S. Ct. at 1858.

         Although the Supreme Court in Carlson suggested that the FTCA and Bivens were

  “parallel” and “complementary,” that decision has been cabined, and “might have been different

  if [it] were decided today.” Id. at 1856; see also Sosa, 2020 WL 1940550, at *4 (under Carlson,

  the FTCA was once considered “parallel” and “complementary” to a Bivens remedy, but “that is

  no longer the case” given Supreme Court’s subsequent decisions); Abdoulaye, 2018 WL 1890488,




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  at *7 (same). Under the current approach, “when alternative methods of relief are available, a

  Bivens remedy usually is not.” Ziglar, 137 S. Ct. at 1863.

            Thus, following Ziglar, every court in the Eastern District to reach the issue holds that the

  availability of the FTCA in the context of an excessive force claim counsels hesitation. See

  Turkmen, 2018 WL 4026734, at *9 (“Because plaintiffs could have brought their claims under the

  FTCA and been awarded damages for their injuries if they prevailed, Ziglar counsels that their

  Bivens claims should be dismissed.”); Rivera, 370 F. Supp. 3d at 369 (same); Style, 2020 WL

  3055319, at *4 (same).4

            The overwhelming majority of courts in the Southern District addressing excessive force

  claims against federal officers concur. See Oliveras, 440 F. Supp. 3d at 373, 2020 (“[T]he Court

  finds that the existence of the FTCA as an alternative remedy qualifies as a special factor that

  counsels hesitation in extending Bivens to cover Plaintiff's claims.”); Ramirez v. Tatum, 17 Civ.

  7801 (LGS), 2018 WL 6655600, at *5 (S.D.N.Y. Dec. 19, 2018) (same); Abdoulaye, 2018 WL

  1890488, at *7 (same); Morgan, 2018 U.S. Dist. 14235, at *6, 2018 WL 618451 (same).

            Bueno Diaz v. Mercurio, 442 F. Supp. 3d 701 (S.D.N.Y. 2020)—the lone post-Ziglar

  excessive force case in the Southern District to hold that the availability of the FTCA does not

  counsel hesitation—is simply at odds with Ziglar. While acknowledging the “notable change in

  the Court’s approach to recognizing implied causes of action,” Judge Torres said she would follow

  Carlson because the “Supreme Court has not specifically called into question its prior analysis




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      “It matters not whether plaintiff's alternative claims will succeed.” Ojo v. United States, 16 CV
         4112 (MKB) (LB), 2019 WL 3852391, at *14 (E.D.N.Y. Aug. 15, 2019); Sanford v. Bruno,
         17-cv-5132 (BMC), 2018 WL 2198759, at *7 (E.D.N.Y. May 14, 2018) (finding the remedies
         that existed “to address plaintiff's situation here are thus adequate for purposes of determining
         whether to imply a Bivens remedy—even though those remedies did not work in this
         instance”).


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  regarding the FTCA’s availability.” Id. at 711 (emphasis added). But the clear import of Ziglar

  (and Hernandez v. Mesa) is otherwise as shown above. No other court in the Southern or Eastern

  District has required such an exacting degree of specificity following Ziglar to appreciate that the

  availability of the FTCA now counsels hesitation.

         Similarly unconvincing, the Bueno Diaz court also posited that the availability of the FTCA

  does not counsel hesitation because the FTCA is “an insufficient protector of the citizens’

  constitutional rights.” Id. at 710 (internal quotations omitted). The court explained that whereas

  Bivens remedies “vindicate violations of constitutional rights by federal employees,” the FTCA

  permits “damages for intentional torts inflicted by federal law enforcement officers.” Id. But this

  distinction, whatever its merits may be, does not bear on the essential consideration of the special

  factors analysis—i.e., whether the “Judiciary is well suited, absent congressional action or

  instruction, to consider and weigh the costs and benefits of allowing a damages action to proceed.”

  Ziglar, 137 S. Ct. at 1858. The Bueno Diaz court is at odds with Ziglar in concluding that it, as

  opposed to Congress, is “well suited” to decide how and to what extent such constitutional

  remedies should be provided. “[W]hen a court recognizes an implied claim for damages on the

  ground that dong so furthers the ‘purpose’ of the law, the court risks arrogating legislative power.”

  Hernandez, 140 S. Ct. at 741.

                         Extending Bivens To The Context Of Immigration Enforcement And
                         A Foreign Plaintiff Poses Separation Of Powers And Policy Concerns

         Another “special factor” counselling hesitation is that this case, given that it involves

  immigration enforcement and touches on international diplomacy, implicates separation of powers

  concerns.   The Supreme Court in Reno v. Flores observed that the “federal government’s

  relationship with alien visitors is so heavily entrusted to Congressional oversight that there is no

  other ‘conceivable subject [over which] the legislative power of Congress is more complete.’” 507



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  U.S. 292, 305 (1993) (quoting Fiallo v. Bell, 430 U.S. 787, 792 (1977) (internal quotation marks

  omitted)); Shi Liang Lin v. United States Dep’t of Justice, 494 F.3d 296, 323 (2d Cir. 2007)

  (Katzmann, J., concurring in the judgment) (“[I]mmigration. . . ha[s] consistently been on

  Congress's radar . . . and Congress has repeatedly legislated in this area.”) (en banc).

         The Fourth Circuit’s decision in Tun-Cos v. Perrotte is again instructive. The court

  explained that “immigration enforcement is ‘a context in which Congress has designed its

  regulatory authority in a guarded way, making it less likely that Congress would want the

  Judiciary to interfere.’” 922 F.3d 514, 526 (4th Cir. 2019) (quoting Ziglar, 137 S. Ct. at 1858).

  The court observed that enforcement of immigration laws implicates broad policy concerns of

  the Executive Branch. See id. at 524-25. That is true here even though Plaintiff does not suggest

  he is a would-be immigrant, because allowing a Bivens claim would subject to suit officers that

  enforce the immigration laws. “Such enforcement has the natural tendency to affect diplomacy,

  foreign policy, and the security of the nation, which counsel hesitation in extending Bivens.” Id.

         The fact that Plaintiff is a foreign national also implicates separation of powers and

  policy concerns. In Hernandez v. Mesa, the Supreme Court declined to create a new Bivens

  remedy arising out of a border agent’s cross-border shooting of a Mexican national. See 140 S.

  Ct. at 739, 749. After concluding that the case raised a new Bivens context, the Court held that

  special factors counseled hesitation in creating a new remedy because, among other things, the

  matter implicated foreign relations, an area entrusted to the political branches. See id. at 744-45.

         While Plaintiff was shot in the United States rather than across an international border,

  the shooting has the potential to implicate diplomacy between the United States and Mexico. In

  its manual “Consular Notification and Access,” the State Department “encourages U.S. officials

  to consider notifying consular officers as a matter of courtesy” if a foreign national suffers a




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  serious injury.5 Creation of a Bivens remedy thus has the potential to interfere with a diplomatic

  handing of the matter.

                           The Unlikelihood Of A Cognizable Violation Of The Fourth Or Fifth
                           Amendment Counsels Against Extending Bivens In This Case

         Finally, because it is unlikely that plaintiff has stated a Fourth or Fifth Amendment

  violation as shown in Point II below, that too counsels hesitation in extending Bivens to the facts

  of this case. See Oliveras, 440 F. Supp. 3d at 374 (“Moreover, even if the existence of the FTCA

  as an alternative remedy were not sufficient to counsel hesitation, the Court would nevertheless

  have ample reason to hesitate. As Defendants have noted it is unlikely that Plaintiff has actually

  alleged a violation of the Fourth Amendment.”).

         Accordingly, the facts of this case present a new Bivens context and special factors counsel

  against extending a Bivens remedy. The Complaint should therefore be dismissed.

  II.    THE COMPLAINT FAILS TO STATE A FOURTH OR FIFTH AMENDMENT
         CLAIM FOR EXCESSIVE FORCE FOR ADDITIONAL AND INDEPENDENT
         REASONS

         Even if the court were to create a new Bivens remedy contrary to the teachings of Ziglar

  and Hernandez, the Complaint fails to state a claim under either the Fourth or Fifth Amendments

  for additional and independent reasons.

                 The Complaint Fails To State A Fourth Amendment Claim Because There
                 Was No Seizure Of Plaintiff

         An excessive force claim arising “in the context of an arrest or investigatory stop of a free

  citizen,” invokes “the protections of the Fourth Amendment, which guarantees citizens the right

  ‘to be secure in their persons . . . against unreasonable . . . seizures’ of the person.” Graham v.



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   See https://travel.state.gov/content/dam/travel/CNAtrainingresources/
  CNA%20Manual%205th%20Edition_September%202018.pdf, at p. 10 (last visited 6/20/21).



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  Connor, 490 U.S. 386, 394 (1989) (ellipsis in original). Thus, to state an excessive force claim

  plaintiff must prove he was seized within the meaning of the Fourth Amendment.

                          Torres v. Madrid And Seizures By Use Of Force

          In Torres v. Madrid, 141 S. Ct. 989 (2021), the Supreme Court clarified that distinct

  analyses apply to “seizures by control and seizures by force.” Id. at 1001 (emphases in original).

  Torres involved an alleged seizure by force: for her excessive force claim under 42 U.S.C. § 1983,

  the plaintiff claimed she was seized when state police officers shot her after she fled from them by

  car. Although the bullets hit Torres, the shooting did not stop her. She continued her drive to

  another town and was eventually taken to a hospital, where she was arrested the next day. See id.

  at 994. The question presented was whether the officers’ use of physical force constituted a seizure

  even though it did not stop Torres’ flight. See id. at 995.

          The Court held that the shooting constituted a seizure because it applied physical force that

  manifested an intent to restrain the plaintiff:

                  We stress, however, that the application of the common law rule
                  [that physical touch gives rise to arrest] does not transform every
                  physical contact between a government employee and a member of
                  the public into a Fourth Amendment seizure. A seizure requires
                  the use of force with intent to restrain. Accidental force will not
                  qualify. . . . Nor will force intentionally applied for some other
                  purpose satisfy this rule. In this opinion, we consider only force
                  used to apprehend.

  Id. at 998 (italics in original, boldface added). Thus, a seizure by force occurs only where the

  officer “objectively manifests an intent to restrain,” id. (emphasis in original), for purposes of

  apprehending the target of the force. The Court explained that this conclusion flowed directly

  from the common law “mere-touch rule,” in which a touch was enough to arrest “provided the

  officer made his intent to arrest clear.” Id. at 996; see also id. at 995 (noting “pertinent principle[]”

  from California v. Hodari D., 499 U.S. 621 (1991), that “the common law considered the



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  application of force to the body of a person with intent to restrain to be an arrest, no matter whether

  the arrestee escaped”). And, the Court explained, “[t]he ‘seizure’ of a ‘person’ plainly refers to an

  arrest,” a “linkage” that “existed at the founding” and “persists today.” Id. at 996.

         In distinguishing between seizures by force and seizures by control, the Court rejected

  application to seizures by force of the standard articulated in Brower v. County of Inyo, 489 U.S.

  593 (1989), which stated that a seizure occurs “only when there is a government termination of

  freedom of movement through means intentionally applied.” Torres, 141 S. Ct. at 1001 (quoting

  Brower, 489 U. S. at 597). The Torres officers’ argument for applying the Brower standard

  “improperly erases the distinction between seizures by control and seizures by force,” each of

  which “gives rise to a separate rule” due to its “separate common law pedigree.” Id. (emphases in

  original). In contrast to a seizure by force, as was at issue in Torres, “a seizure by acquisition of

  control involves either voluntary submission to a show of authority or the termination of freedom

  of movement.” Id. County of Brower is a “prime example” of the latter in that it involved “the

  police seiz[ing] a driver when he crashed into their roadblock.” Id.

         Torres clarifies the analysis for determining when a use of force constitutes a seizure, by

  distinguishing such seizures from seizures that do not involve the use of force. For seizures

  claimed to occur through the use of force, the “a seizure through the use of force occurs only when

  in using physical force the officer manifests an intent to restrain for purposes of an apprehension.

  Pre-Torres cases have correctly recognized this doctrinal framework. See Abujayyab v. City of

  New York, No. 15 Civ. 10080 (NRB), 2018 WL 3978122, at *5 (S.D.N.Y. Aug. 20, 2018)

  (“However, physical force by a police officer does not constitute a seizure when it is not part of an

  effort to restrain the plaintiff.”) (citing cases); Estate of Jackson v. Rochester, 705 F. Supp. 779,

  786 (W.D.N.Y. 1989) (no seizure because “Gonzalez did not draw his revolver and fire it to




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  apprehend Jackson; rather, he fired his revolver in self-defense because Jackson suddenly moved

  toward him with a raised knife”) (citing Dodd v. City of Norwich, 827 F.2d 1, 7 (2d Cir. 1987)).

         The cases cited in Plaintiff’s pre-motion opposing letter (dkt. no. 36) do not apply a

  different rule for assessing whether a use of force constitutes a seizure—but if they did they would

  be inconsistent with Torres. Davenport v. Borough of Homestead, No. 2:13CV250, 2016 WL

  5661733 (W.D. Pa. Sept. 30, 2016), noted that “[i]f . . . [a police] officer fires his gun directly at

  [an] innocent bystander in the mistaken belief that the bystander is [a] robber, then a Fourth

  Amendment seizure has occurred.” Id. at *14 (citing Brower v. County of Inyo, 489 U.S. 593, 596

  (1989)). That is in line with Torres, because in the hypothetical the officer has intentionally used

  force with intent to restrain the bystander; his subjective misidentification of the bystander does

  not alter the analysis. In Martien v. City of Schenectady, No. 1:04-CV-679 (FJS/RFT), 2006 WL

  1555565, at *1-2 (N.D.N.Y. June 2, 2006), the injured plaintiff, though not the actual target of the

  arrest, was a passenger in a car that was pulled over by the police for a traffic offense, so the

  officer’s conduct occurred in the context of an intent to restrain. And in Zainc v. City of Waterbury,

  603 F. Supp. 2d 368, 378 (D. Conn. 2009), both plaintiffs ultimately were arrested.

                         Under Any View Of The Complaint Mr. Santana Manifested No
                         Intent To Restrain Plaintiff

         Torres makes clear there is no seizure here because the factual allegations belie any claim

  that Mr. Santana shot Plaintiff with an intent to restrain him. That is not a pleading failure; it is

  the essence of Plaintiff’s narrative that he was but an observer (in his telling) to Mr. Santana’s

  attempt to arrest someone else. As the Complaint relates, Mr. Santana and his fellow ICE officer

  struggled with Avendaño-Hernandez, repeatedly tasing him, in an attempt to place him in

  handcuffs. Cmplt. ¶ 29. When Avendaño-Hernandez ran away, Mr. Santana chased him and

  grabbed onto him. Id. ¶¶ 30-31. Plaintiff approached the area where Mr. Santana was trying to



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  apprehend Avendaño-Hernandez, inserted himself between Avendaño-Hernandez and the house,

  and was shot. Id. ¶¶ 33-40. After being shot Plaintiff was taken to the hospital, id. ¶ 55, and there

  is no allegation Mr. Santana ever saw him again. There is simply nothing in the Complaint to

  support an inference that Mr. Santana manifested an intent to restrain Plaintiff for purposes of

  apprehending him. To the contrary, Mr. Santana manifested an intent to restrain Avendaño-

  Hernandez. Accordingly, there is no seizure of Plaintiff and no Fourth Amendment claim.

                 The Complaint Fails To State A Substantive Due Process Claim Because A
                 Law Enforcement Officer’s Shooting Of A Person Who Inserts Himself Into
                 The Officer’s Struggle With A Fleeing Target Does Not Shock The
                 Conscience

         Because Plaintiff was not “seized,” he is left to assert an alleged substantive due process

  right to be free from excessive force that has been recognized in rare cases falling outside the

  Fourth Amendment. See Rodriguez v. Phillips, 66 F.3d 470, 477 (2d Cir. 1995). To avoid

  dismissal of his Fifth Amendment claim, however, Plaintiff “must allege governmental conduct

  that ‘is so egregious, so outrageous, that it may fairly be said to shock the contemporary

  conscience.’” Velez v. Levy, 401 F.3d 75, 93 (2d Cir. 2005) (quoting County of Sacramento v.

  Lewis, 523 U.S. 833, 847 n.8 (1998)); see also Medeiros v. O’Connell, 150 F.3d 164, 170 (2d

  Cir. 1998) (“Alleged abuses of the police power are sufficiently arbitrary to rise to constitutional

  magnitude only when the conduct at issue ‘shocks the conscience.’”).

         That is a very high bar. “Conscience-shocking” conduct by government officials

  ordinarily must be “intended to injure in some way unjustifiable by any government interest.”

  County of Sacramento, 523 U.S. at 849 (emphases added). Negligence, recklessness, gross

  negligence, and conscious disregard categorically will not suffice. See id. at 854-55. The

  Supreme Court held in Lewis that the defendant police officer’s pursuit of a fleeing suspect in a

  high-speed auto chase, even if the conduct caused the suspect’s death through deliberate or



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  reckless indifference to life, does not shock the conscience. See id. at 836, 853-55. This

  standard “screens out all but the most significant constitutional violations, ‘lest the Constitution

  be demoted to . . . a font of tort law.’” Matican v. City of New York, 524 F.3d 151, 155 (2d Cir.

  2008) (quoting Lewis, 523 U.S. at 847 n.8).

         Mr. Santana’s alleged actions do not shock the conscience as a matter of law. As alleged

  in the Complaint, Plaintiff approached the area where Mr. Santana was attempting to apprehend

  Avendaño-Hernandez, after the latter had been struggling to get away to the point that the ICE

  officers had to wrestle with an use a taser on him to attempt to get him into handcuffs. Cmplt.

  ¶¶ 28-29. Avendaño-Hernandez then “ran away from” the ICE agents and Mr. Santana “ran after

  him” to try and maneuver him away from the house and back toward to the ICE vehicle. Id. ¶

  30. As Mr. Santana caught up to the target and tried to maneuver him away from the house and

  back toward to the ICE vehicle, the target grabbed onto a metal pole affixed to the stairs in front

  of the house. Id. ¶¶ 31-34.

         Plaintiff then inserted himself into this chaotic scene of an armed officer attempting to gain

  control of a target of a lawful arrest struggling to flee—someone who Plaintiff saw could not be

  subdued by two ICE agents or a taser. Even Plaintiff’s omission from the Complaint of his own

  pummeling of Mr. Santana does not transform the shooting into a conscious-shocking event, as no

  reasonable inference can be drawn that Defendant acted with an intent to harm unrelated to any

  legitimate law enforcement objective.        See Lewis, 523 U.S. at 853 (“[W]hen unforeseen

  circumstances demand an officer’s instant judgment, even precipitate recklessness fails to inch

  close enough to harmful purpose to spark the shock . . . .”); compare Bogart v. City of New York,

  No. 13 Civ. 1017 (NRB), 2016 WL 4939075, at *9 (S.D.N.Y. Sept. 6, 2016) (summary judgment

  on due process excessive force claim denied where plaintiff, who interfered with officer’s attempt




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  to arrest U.S. flag carrier during “Occupy Wall Street” demonstrations, alleged that officer injured

  her intentionally for purpose of silencing her First Amendment expression). Mr. Santana was

  attempting to make a lawful arrest of a fleeing target, Plaintiff put himself in the middle and was

  shot. Far from shocking the conscience, the harm to Plaintiff was readily foreseeable. Plaintiff’s

  Fifth Amendment claim accordingly should be dismissed.

  III.   THE COURT SHOULD STAY DISCOVERY PENDING RESOLUTION OF THIS
         MOTION TO DISMISS

         This Court has “considerable discretion” to stay discovery “upon a showing of good

  cause.” Lawson v. Rubin, No. 17-CV-6404 (BMC), 2018 WL 4211446, at *1 (E.D.N.Y. Mar. 7,

  2018). In determining whether a party has shown “good cause,” courts typically consider three

  factors: “(1) whether the defendant has made a strong showing that plaintiff's claims are

  unmeritorious; (2) the breadth of discovery and burden of responding to it; and (3) the risk of

  unfair prejudice to the party opposing the stay.” Id. at *1. A stay of discovery should serve

  “[t]he interests of fairness, economy, and efficiency.” United States v. County of Nassau, 188

  F.R.D. 187, 188-89 (E.D.N.Y. 1999). Here, each factor supports a stay.

         First, Defendant has made a strong showing that Plaintiff’s claims are unmeritorious on

  multiple grounds. Those arguments, if successful, are dispositive of all claims. See Valentini v.

  Group Health Inc., No. 20 Civ. 9526 (JPC), 2021 WL 861275, at *1 (S.D.N.Y. Mar. 8, 2021)

  (granting stay where there were “several substantial arguments in favor of dismissal”); Niv v.

  Hilton Hotels Corp., No. 06 Civ. 7839 (PKL), 2007 WL 510113, at *1 (S.D.N.Y. Feb. 15, 2007)

  (granting stay where defendants’ motion “appears not to be unfounded in the law”).

         Second, the breadth of discovery in this action is substantial, despite the narrow fact

  issues, as it will likely require the collection, processing, and review of documents across

  multiple messaging applications, social media accounts, and email accounts, as the parties have



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  already discussed during a meet and confer. Declaration of Elizabeth Wolstein, dated June 21,

  2021 (“Wolstein Decl.”) ¶ 2. There are multiple non-party witnesses who may need to be

  deposed. And both sides will need discovery from the co-defendant the United States, which is

  in possession of all official ICE documents.

         The burden of discovery is heightened in this case given that, as alleged in the Second

  Amended Complaint, the plaintiff is a “is a Mexican national who lives in” Mexico. Cmplt.

  ¶ 10. Therefore, essential witnesses, including Plaintiff, as well as documents, may be located

  outside the United States. And, in any event, the collection and review of documents will likely

  require the engagement of translation services. See Niv, 2007 WL 510113, at *2 (finding burden

  and granting stay where, among other things, “[d]iscovery in any forum will likely require, inter

  alia, the translation, review, and production of Hebrew and Arabic documents”).

         Third, there is no risk of prejudice to Plaintiff: if the motion is denied, the parties can

  promptly resume discovery. Indeed, while Mr. Santana has produced most of the documents in

  his possession—including, among other things, photographs of and medical records relating to

  the injuries he sustained from Plaintiff’s attack—and has answered interrogatories, Plaintiff has

  not yet produced any discovery in response to Mr. Santana’s document requests or

  interrogatories. Plaintiff has instead requested multiple discovery extensions, first on May 6,

  2021, and most recently on June 8, 2021. Wolstein Decl. ¶¶ 3-4. In addition, discovery has not

  yet begun as to the United States, which has not yet responded to the Complaint. Given the early

  stage of the case a stay would cause no prejudice. See Giminez v. Law Offices of Hoffman &

  Hoffman, No. CV-12-0669 (JFB) (ETB), 2012 WL 2861014, at *2 (E.D.N.Y. July 11, 2012) (no

  prejudice where actions were “in their infancy”).




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         Accordingly, good cause exists to stay discovery pending resolution of the motion to

  dismiss: Mr. Santana “has filed a dispositive motion, the stay is for a short period of time, and

  the opposing party will not be prejudiced by the stay.” New York v. Pennsylvania Higher Educ.

  Assist. Agency, No. 19 Civ. 9155 (ER), 2020 WL 605944, at *1 (S.D.N.Y. Feb. 7, 2020).

                                           CONCLUSION

         For the foregoing reasons the Court should (i) dismiss with prejudice the Second Amended

  Complaint in its entirety as against Mr. Santana, and (ii) stay discovery as between Plaintiff and

  Mr. Santana pending resolution of this motion to dismiss.

  Dated: New York, New York
         June 21, 2021

                                                               Respectfully submitted,

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